AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 1


                                      UNITED STATES DISTRICT COURT
                                                       Middle District of Tennessee

            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                 V.                                  (For Revocation of Probation or Supervised Release)

              PEDRO SAVALA-MARTINEZ
                                                                     Case No. 2:06-cr-00015
                                                                     USM No. 17876-075
                                                                      Thomas Drake
                                                                                              Defendant's Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)         1, 2 and 3                    of the term of supervision.
❑ was found in violation of condition(s) count(s)                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                           Violation Ended
1                              Failure to not commit another federal, state or local crime                  06/08/2009

2                                Failure to not commit another federal, state or local crime                05/30/2009

3                                Failure to not commit another federal, state or local crime                07/16/2011



       The defendant is sentenced as provided in pages 2 through         2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
❑ The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: N/A                                                11/09/2020
                                                                                         Date of Imposition of Judgment
Defendant's Year of Birth:            1980                                              ' f
City and State of Defendant's Residence:                                                        Signature of Judge
Smyrna, Georgia
                                                                              Eli Richardson, United States District Judge
                                                                                              Name and Title of Judge



                                                                                                         Date




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                       Sheet 2— Imprisonment
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DEFENDANT: PEDRO SAVALA-MARTINEZ
CASE NUMBER: 2:06-cr-00015


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
Time Served (Approximately 24 days)




     ❑ The court makes the following recommendations to the Bureau of Prisons:




     ❑ The defendant is remanded to the custody of the United States Marshal.

     ❑ The defendant shall surrender to the United States Marshal for this district:
         ❑    at                                ❑ a.m.        ❑ p.m. on
         ❑    as notified by the United States Marshal.

     ❑ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ❑    before 2 p.m. on
         ❑    as notified by the United States Marshal.
         ❑    as notified by the Probation or Pretrial Services Office.

                                                                   11,11011110151W

I have executed this judgment as follows:




         Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                           By
                                                                                           DEPUTY UNITED STATES MARSHAL




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